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O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                         UNITED STATES DISTRICT COURT
                         EASTERN                                       District of                                    MICHIGAN
         UNITED STATES OF AMERICA
                    V.                                                              ORDER OF DETENTION PENDING TRIAL
           GARNER HERBERT WOOD,,                                                  Case      4:07-CR-20094-2-FL
                           Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                                 Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G stat
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                  .
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
             § 3142(f)(1)(A)-©, or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
X (1)    There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et. seq.                                .
              under 18 U.S.C. § 924©.
X (2)    The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
   (1)   There is a serious risk that the defendant will not appear.
   (2)   There is a serious risk that the defendant will endanger the safety of another person or the community.




                                              Part II—Written Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by          clear and convincing evidence X a prepon-
derance of the evidence that
detention is appropriate in this matter. The information presented at the hearing reveals that the defendant is a lifelong resident of
this community, and that he had previously been employed prior to having sustained an injury. The record further reveals that the defend-
ant has a state court felony conviction for possession of cocaine. It further appears that the defendant did have in his possession a firearm
in relation to the instant offense. Based upon the defendant’s prior criminal history, his possession of a weapon, the nature of the charges
against him, and the fact that he is facing a lengthy term of incarceration in this matter, I find that he has failed to rebut the presumption that
there are no conditions or combination of conditions which will assure his appearance in court, or the safety of the community.

                                                      Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.


  Date: March 12, 2007
                                                                                     s/ Steven D. Pepe


                                                                                    STEVEN D. PEPE. U.S. MAGISTRATE JUDGE
                                                                                              Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or ©
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
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                                                CERTIFICATE OF SERVICE

I hereby certify that on March 12, 2007 , I electronically filed the foregoing paper with the Clerk of the Court using the ECF
system which will send such notification of such filing to the following: Mark C. Jones, AUSA, , and I hereby certify that I have
mailed by United States Postal Service/hand delivered the paper to the following non-ECF participants: Anthony N. Pappadakis,
934 Church St., Flint, MI 48502, Dennis Snyder, 10751 S. Saginaw St., Ste. F, Grand Blanc, MI 48439, United States Marshal
Service, 600 Church St., Flint, MI, 48502, Pretrial Services Officer, 600 Church St., Flint, MI 48502.

                                                                                  s/James P. Peltier
                                                                                  James P. Peltier
                                                                                  Courtroom Deputy Clerk
                                                                                  U.S.District Court
                                                                                  600 Church St.
                                                                                  Flint, MI 48502
                                                                                  810-341-7850
                                                                                  pete peltier@mied.uscourts.gov
